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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

    IN RE:                                       §
                                                 §            CASE NO 21-30107-hcm
    PDG PRESTIGE INC.,                           §                 Chapter 11
                                                 §
                                                 §
             Debtor.                             §

         NOTICE OF ADDITIONAL COPIES OF MONTHLY OPERATING
         REPORTS FILED

         PDG Prestige, Inc. (“PDG”), reorganized debtor, files this Notice of Additional Copies of

  Monthly Operating Reports Filed to address potential technical issues that may have prevented

  some parties from seeing the recently filed MORs and/or the data therein. Attached are scans of

  the recently filed MORs that the undersigned firm has downloaded and scanned back in and

  combined into one PDF for reference.

                        Docket #                      Date of MOR
                          171                          March 2022
                          172                          April 2022
                          173                          May 2022
                          174                          June 2022
                          175                           July 2022
                          176                         August 2022




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  Dated: October 11, 2022                 Respectfully submitted,

                                          WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                          By: /s/ Jeff Carruth
                                               JEFF CARRUTH
                                               State Bar No. 24001846
                                               3030 Matlock Rd., Suite 201
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                                               Phone: (817) 795-5046
                                               Facsimile: (866) 666-5322
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                                          ATTORNEYS FOR
                                          PDG PRESTIGE, INC.
                                          REORGANIZED DEBTOR



                                 CERTIFICATE OF SERVICE
          The undersigned hereby certifies that a true and correct copy of the foregoing was served
  on October 11, 2022 by electronic notice to all ECF users who have appeared in this case to date
  (listed below).
                                                    /s/ Jeff Carruth
                                              JEFF CARRUTH




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  21‐30107‐hcm Notice will be electronically mailed to:      MRN4Bankruptcy@gmail.com

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  Michael R. Nevarez on behalf of Interested Party Westar
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